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                     Exhibit 1- Settlement Agreement
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

   DAVID DYKEHOUSE, KRISTINA         )
   BOSKOVICH, and ELIZABETH          )
   HAMBLIN, on behalf of themselves and all
                                     )
   others similarly situated,        )
                                     )                    Case No. 1:18-cv-01225
                    Plaintiffs,      )
                                     )                    Hon. Hala Y. Jarbou
   vs.                               )
                                     )
   THE 3M COMPANY, GEORGIA-PACIFIC )
   LLC, and GEORGIA-PACIFIC CONSUMER )
   PRODUCTS LP,                      )
                                     )
                    Defendants.      )


                             CLASS SETTLEMENT AGREEMENT

        This Class Settlement Agreement is entered into as of the 22nd day of April, 2021, by
  and among Plaintiffs, on behalf of themselves and the Class Members, and Defendants.

                                             RECITALS

          WHEREAS, Plaintiffs have asserted claims against Defendants in this Action on behalf
  of a putative but not certified class of residents serviced by the Parchment Water System;

         WHEREAS, Plaintiffs allege that Defendants are liable under various tort theories for
  various damages and other relief based on the presence of certain PFAS in the Parchment Water
  System;

         WHEREAS, Plaintiffs allege that PFAS present in the Parchment Water System came
  from the Site, which Plaintiffs allege Georgia-Pacific or affiliates formerly owned or operated;

          WHEREAS, Plaintiffs allege that 3M manufactured certain PFAS-containing products
  used at the Site;

          WHEREAS, Defendants have denied and continue to deny any wrongdoing in connection
  with any PFAS present in the Parchment Water System and any liability in connection with
  Plaintiffs’ claims, and they dispute the scientific, factual, legal, and other bases for Plaintiffs’
  claims and the appropriateness of certifying a class action for litigation; and

          WHEREAS, after carefully considering the facts and applicable law and the risks, costs,
  delay, and uncertainty of continued litigation, and after engaging in extensive, arm’s-length
  negotiations, with the assistance of a Court-appointed mediator, the Parties desire to settle the


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  Action and the related claims of Plaintiffs and the Class on the terms and conditions stated
  herein, which Plaintiffs and Class Counsel believe are fair, reasonable, adequate, and beneficial
  to and in the best interests of the Class Members;

          NOW THEREFORE, subject to approval by the Court pursuant to Federal Rule of Civil
  Procedure 23, the Parties hereby agree that, in consideration of the promises and mutual
  covenants set forth in this Agreement and upon occurrence of the Effective Date, the Action and
  the related claims of Plaintiffs and the Class shall be settled, compromised, dismissed, and
  released on the following terms and conditions:

  1. Definitions

         a. “3M” means the 3M Company.

         b. “Action” means the putative class action lawsuit captioned David Dykehouse et al. v.
            3M Company et al., No. 1:18-cv-01225, currently pending in the Court.

         c. “Agreement” means the Class Settlement Agreement between and among the
            Parties, including all exhibits thereto.

         d. “CAFA Notice” means the notice to be disseminated to appropriate federal and state
            officials pursuant to the requirements of 28 U.S.C. § 1715(b) and in accordance with
            Section 8 of this Agreement.

         e. “Class” means all Persons who (i) owned, leased, rented, or resided in homes or
            residential properties serviced by the Parchment Water System as of July 26, 2018;
            and (ii) have not brought individual actions for personal injury or illness based on
            exposure to PFAS present in the Parchment Water System; provided, however, that
            the “Class” shall not include (i) Defendants, their corporate officers, or their legal
            counsel in this Action; (ii) Class Counsel, including its partners, members, and
            shareholders; or (iii) the judge to whom this Action is assigned, any member of the
            judge’s immediate family, or any other judicial officer assigned to this case.

         f. “Class Administrator” means the Person or Persons that will perform duties related
            to dissemination of Class Notice and administration of the Settlement Fund and the
            Settlement Class Allocation Plan in accordance with this Agreement.

         g. “Class Counsel” means Liddle & Dubin, P.C.

         h. “Class Member” means a member of the Class.

         i. “Class Notice” means the notice of the Settlement that will be provided to Class
            Members in accordance with Section 9 of this Agreement, which notice will be
            proposed in substantially the same form as the Exhibit 1 to this Agreement.

         j. “CMS” means Centers for Medicare and Medicaid Services.




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        k. “Court” means the United States District Court for the Western District of Michigan,
           the Honorable Hala Y. Jarbou presiding.

        l. “Defendants” means 3M and Georgia-Pacific.

        m. “Effective Date” means the date on which all opportunities for appellate review of
           the Final Approval Order have expired or been exhausted without the Final Approval
           Order having been reversed, vacated, or otherwise overturned in whole or in part.

        n. “Fairness Hearing” means the hearing at which the Court will consider whether to
           give final approval to the Settlement and make such other rulings as are contemplated
           for the Final Approval Order.

        o. “Final Approval Order” means the Court’s order (a) granting final approval to the
           Settlement; (b) directing that the Agreement be implemented in accordance with its
           terms; (c) dismissing the Action with prejudice; (d) ruling that each of the Releasing
           Parties has expressly, intentionally, fully, finally, and forever released, waived,
           compromised, settled, and discharged all Released Claims; (e) barring each of the
           Releasing Parties from asserting any of the Released Claims against any of the
           Released Parties; (f) awarding any attorneys’ fees, costs, and expenses payable in
           connection with the Settlement or the Action; (g) finding that the Class Notice
           complied with Federal Rule of Civil Procedure 23 and the U.S. Constitution; (h)
           establishing and approving the Settlement Fund; and (i) reserving exclusive and
           continuing jurisdiction over the Settlement Fund and the interpretation, performance,
           implementation, administration, and enforcement of this Agreement and the Court’s
           orders in the Action; which such order will be proposed in substantially the same
           form as agreed upon by the Parties and attached as an exhibit to Plaintiffs’ motion for
           preliminary approval of the Settlement.

        p. “Georgia-Pacific” means Georgia-Pacific LLC and Georgia-Pacific Consumer
           Products LP.

        q. “Net Settlement Fund” means the portion of the Settlement Fund available for
           payment to the Settlement Class Members after the payment of notice costs,
           administration costs, attorneys’ fees, any tax-related expenses, and other costs and
           expenses payable from the Settlement Fund.

        r. “Notice Date” means the date by which the Class Administrator must commence
           delivery of the Class Notice.

        s. “Opt Out” means the choice of a Class Member to exclude himself, herself, or itself
           from the Settlement in accordance with Section 10 of this Agreement.

        t. “Opt Out Deadline” means the deadline to Opt Out set by the Court or, if the Court
           sets no such deadline, forty-five (45) days after the Notice Date.

        u. “Objection” means a challenge to the Settlement asserted by a Class Member
           pursuant to Section 11 of this Agreement.


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        v. “Objection Deadline” means the deadline to submit an Objection set by the Court or,
           if the Court sets no such deadline, forty-five (45) days after the Notice Date.

        w. “Parchment Water System” mean the municipal water system for the City of
           Parchment, Michigan, including the sources of water for the system.

        x. “Party” means any one of the Plaintiffs or any one of the Defendants.

        y. “Parties” means all of the Plaintiffs, on behalf of themselves and the Class Members,
           and all of the Defendants.

        z. “Person” means a natural person, corporation, association, limited liability company,
           partnership, limited partnership, joint venture, affiliate, any other type of private
           entity, states, counties, municipalities, any other public or quasi-public entity, or their
           respective spouses, heirs, predecessors, successors, executors, administrators,
           representatives, or assigns.

        aa. “PFAS” means, for purposes of this Agreement only, any fluorinated organic
            substance that contains one or more carbon atoms on which at least one of the
            hydrogen substituents has been replaced by a fluorine atom. For purposes of this
            Agreement, the definition of “PFAS” is intended to be as broad and inclusive as
            possible and includes, without limitation, all per- and poly-fluoroalkyl substances and
            their chemical precursors and degradants, as well as all products manufactured with
            or containing such substances, precursors, or degradants.

        bb. “Plaintiffs” means David Dykehouse, Kristina Boskovich, and Elizabeth Hamblin.

        cc. “Preliminary Approval Order” means the Court’s order (i) granting preliminary
            approval to the Settlement; (ii) approving the Class Notice; (iii) certifying the
            Settlement Class under Federal Rule of Civil Procedure 23; (iv) appointing Plaintiffs
            as class representatives; (v) appointing Class Counsel to represent the Settlement
            Class; and (vi) setting the Opt Out Deadline, the Objection Deadline, the date and
            time for the Fairness Hearing, and other appropriate deadlines; which such order will
            be proposed in substantially the same form as agreed upon by the Parties and attached
            as an exhibit to Plaintiffs’ motion for preliminary approval of the Settlement.

        dd. “Released Claims” shall have the meaning set forth in Section 4(b) of this
            Agreement.

        ee. “Released Parties” means Defendants and their parents, subsidiaries, divisions,
            affiliated business entities, predecessors, successors, and all of their agents,
            employees, officers, directors, partners, shareholders, owners, members, promoters,
            representatives, distributors, trustees, attorneys, insurers, subrogees, and assigns,
            individually or in their corporate or personal capacity.

        ff. “Releasing Parties” means the Settlement Class Members and their parents,
            subsidiaries, divisions, affiliated business entities, predecessors, successors, and all
            of their agents, employees, officers, directors, partners, shareholders, owners,


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           members, promoters, representatives, trustees, executors, heirs, attorneys, insurers,
           subrogees, and assigns, individually or in their corporate or personal capacity, and
           anyone acting on their behalf, including in a representative or derivative capacity.

        gg. “Settlement” means the settlement and compromise reflected in this Agreement.

        hh. “Settlement Class” means Class Members that do not Opt Out.

        ii. “Settlement Class Allocation Plan” means the plan for allocating and distributing
            the Net Settlement Fund to and among Settlement Class Members.

        jj. “Settlement Class Members” means members of the Settlement Class.

        kk. “Settlement Fund” means the fund or account established pursuant to and approved
            by an order of the Court to resolve and satisfy the Released Claims as a qualified
            settlement fund within the meaning of 26 C.F.R. § 1.468B-1(a) and (c), at Class
            Counsel’s expense (subject to Court-approved reimbursement from the Settlement
            Fund), to receive the Total Settlement Payment and make payments authorized by
            this Agreement.

        ll. “Site” means the paper mill, landfills, wastewater treatment system (including
            lagoons and/or detention ponds), disposal areas, surface and/or subsurface drainage
            pathways, and all associated facilities, formerly owned or operated by Crown
            Vantage and/or its predecessors, in Parchment and/or Cooper Township, Michigan.

        mm. “Total Settlement Payment” means the total payment that the Defendants
          collectively are to make in accordance with Section 2(a) of this Agreement.

  2. Settlement Payment and Settlement Fund

        a. Within seventy-five (75) days after the Effective Date, Defendants shall pay or cause
           to be paid a total of $11,900,000.00 into the Settlement Fund.

        b. In connection with the motion for preliminary approval of the Settlement, Class
           Counsel shall develop and propose a Settlement Class Allocation Plan for approval by
           the Court.

        c. Class Counsel shall select an independent, third-party Class Administrator to
           administer the Settlement Fund and the Settlement Class Allocation Plan.

        d. All fees, costs, and expenses incurred in the administration of the Settlement Fund
           and the Settlement Class Allocation Plan, including fees, costs, and expenses of the
           Class Administrator, shall be paid solely from the Settlement Fund.

        e. In no event shall Defendants or their counsel have any liability for the administration
           of the Settlement Fund or the Settlement Class Allocation Plan or for acts or
           omissions of the Class Administrator.



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        f. The Settlement Fund at all times is intended to be a “qualified settlement fund” within
           the meaning of United States Treasury Regulation § 1.468B-1, 26 C.F.R. § 1.468B-1
           and shall be established pursuant to an order of the Court and will be subject to the
           continuing jurisdiction of Court for the life of the Settlement Fund. Neither the Parties
           nor the Class Administrator shall take a position in any filing or before any tax
           authority that is inconsistent with such treatment. Each of the Defendants is a
           “transferor” within the meaning of United States Treasury Regulation § 1.468B-
           1(d)(1) to the Settlement Fund. The Class Administrator shall be the “administrator”
           of the Settlement Fund within the meaning of United States Treasury Regulation
           § 1.468B-2(k)(3) and, as the administrator, the Class Administrator shall: (a) timely
           make or join in any and all filings or elections necessary to make the Settlement Fund
           a qualified settlement fund at the earliest possible date (including, if requested by any
           of the Defendants, a relation-back election within the meaning of United States
           Treasury Regulation § 1.468B-1(j)); (b) timely file all necessary or advisable tax
           returns, reports, or other documentation required to be filed by or with respect to the
           Settlement Fund; (c) timely pay any taxes (including any estimated taxes, and any
           interest or penalties) required to be paid by or with respect to the Settlement Fund;
           and (d) comply with any applicable information reporting or tax withholding
           requirements imposed by applicable law, in accordance with United States Treasury
           Regulation § 1.468B-2(l). Any such taxes, as well as all other costs incurred by the
           Class Administrator in performing the obligations created by this subsection, shall be
           paid out of the Settlement Fund. The Defendants shall have no responsibility or
           liability for paying such taxes and no responsibility to file tax returns with respect to
           the Settlement Fund or to comply with information -reporting or tax -withholding
           requirements with respect thereto. Defendants shall provide the Class Administrator
           with the combined statement described in United States Treasury Regulation
           § 1.468B-3(e)(2)(ii).

        g. Defendants are making no representations to Class Members concerning any tax
           consequences or treatment of any allocation or distribution of funds to Class
           Members pursuant to this Agreement, the Settlement, or the Settlement Class
           Allocation Plan.

        h. The Total Settlement Payment constitutes remediation (as defined in 26 U.S.C.
           § 162(f)) for the claims alleged by Plaintiffs on behalf of themselves and the Class
           Members. No portion of the Total Settlement Payment constitutes a fine, penalty,
           punitive damages, disgorgement of profits, reimbursement for investigation or
           litigation costs, or an amount paid in settlement of any claim for any of the foregoing;
           and if a determination were made to the contrary, the amounts paid would qualify
           under the exceptions in Subsections 162(f)(2) and (3).

        i. The Total Settlement Payment shall not be used, in whole or in part, to fund or create
           any medical monitoring program for Class Members.




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  3. Attorneys’ Fees, Costs, Expenses, and Incentive Awards

        a. Class Counsel may request an award of attorneys’ fees, costs, or expenses related to
           the Action and the Settlement

        b. No later than twenty-one (21) days prior to the Objection Deadline, Class Counsel
           shall file with the Court any request for an award of attorneys’ fees, costs, or
           expenses related to the Action and the Settlement.

        c. A decision by the Court to grant less than the requested amount of attorneys’ fees,
           costs, or expenses does not provide grounds for termination or amendment of this
           Agreement, does not prevent entry of a Final Approval Order, and does not provide
           grounds for opposing or challenging final approval of the Settlement.

        d. Plaintiffs may request, and Defendants will not oppose, incentive awards of no more
           than $5,000 for each class representative.

        e. Any award of attorneys’ fees, costs, expenses, or incentive awards related to the
           Action or the Settlement shall be paid solely from the Settlement Fund.

        f. Beyond their obligations to make the Total Settlement Payment, in no event shall any
           of the Defendants have any liability for any attorneys’ fees, costs, expenses, or
           incentive awards related to the Action or the Settlement, aside from that Defendant’s
           own attorneys’ fees, costs, or expenses.

  4. Dismissal, Release of Claims, and Related Provisions

        a. Dismissal. In the motion for final approval of the Settlement, Plaintiffs, on behalf of
           themselves and the Class, shall request that the Final Approval Order dismiss the
           Action with prejudice.

        b. Release. Upon the Effective Date, the Releasing Parties shall have expressly,
           intentionally, voluntarily, fully, finally, irrevocably, and forever released, waived,
           compromised, settled, and discharged the Released Parties from each and every past,
           present, and future claim and cause of action—whether direct or indirect, in law or in
           equity, or for compensatory damages, consequential damages, incidental damages,
           statutory damages, punitive or exemplary damages, nominal damages, disgorgement,
           restitution, indemnity, contribution, penalties, injunctive relief, declaratory relief,
           attorneys’ fees, court costs, or expenses—that were or could have been asserted in the
           Action (the “Released Claims”), including but not limited to any claims or causes of
           action (i) arising from or related to the alleged presence of any chemical in the
           environment (including in any municipal water system) that is currently known or
           alleged to be related in any way to the Site, including any such chemical present as a
           result of disposal at the Site’s landfills or any other area in the vicinity of the Site, and
           any exposure of any Settlement Class Member to such chemicals through drinking
           water or otherwise; (ii) for any type of relief with respect to the installation,
           maintenance, or operation of, and cost associated with, whole-house filters, point-of-
           use filters, municipal water, alternative water supplies, or remediation for any


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           Settlement Class Member or any residential property serviced by the Parchment
           Water System; (iii) for property damage or property-value diminution purportedly
           attributable to the alleged presence of PFAS in Parchment Water System or on
           property in or around Parchment, Michigan; and (iv) based on exposure to PFAS,
           including PFAS in the blood or tissue of any Settlement Class Member; provided,
           however, that the “Released Claims” do not include any individual claims of the
           Releasing Parties (i) for any damages whatsoever (including for screenings, tests,
           examinations, and/or diagnostic procedures) related to past, present, or future
           manifested bodily injuries that have resulted in a medically diagnosed condition; or
           (ii) to enforce the terms of this Agreement or the Final Approval Order.

        c. No Waiver of Defenses. Defendants do not waive or forfeit any defenses or
           arguments that they could assert as to any claims or causes of action that are outside
           the definition of “Released Claims.”

        d. Exclusive Remedy. The relief provided for in this Agreement shall be the sole and
           exclusive remedy for all Releasing Parties with respect to any Released Claims, and
           the Released Parties shall not be subject to liability or expense of any kind with
           respect to any Released Claims other than as set forth in this Agreement.

        e. Covenant Not To Sue. Each of the Releasing Parties shall forever refrain from
           instituting, maintaining, prosecuting, or continuing any suit, action, or proceeding
           against any of the Released Parties with respect to the Released Claims.

        f. Waiver of Statutory Rights. To the extent the provisions apply, the Releasing Parties
           expressly, knowingly, and voluntarily waive the provisions of Section 1542 of the
           California Civil Code, which provides as follows:

               A general release does not extend to claims that the creditor or releasing
               party does not know or suspect to exist in his or her favor at the time of
               executing the release and that, if known by him or her, would have
               materially affected his or her settlement with the debtor or released
               party.

           To the extent the provisions apply, the Releasing Parties likewise expressly,
           knowingly, and voluntarily waive the provisions of Section 20-7-11 of the South
           Dakota Codified Laws, which provides:

               A general release does not extend to claims which the creditor does not
               know or suspect to exist in his favor at the time of executing the release,
               which if known by him must have materially affected his settlement with
               the debtor.

           To the extent the laws apply, the Releasing Parties expressly waive and relinquish all
           rights and benefits that they may have under, or that may be conferred upon them by,
           Section 1542 of the California Civil Code, Section 20-7-11 of the South Dakota
           Codified Laws, and all similar laws of other States, to the fullest extent that they may
           lawfully waive such rights or benefits pertaining to the Released Claims. In


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           connection with such waiver and relinquishment, the Releasing Parties acknowledge
           that they are aware that they or their attorneys may hereafter discover claims or facts
           in addition to or different from those that they now know or believe to exist with
           respect to the Released Claims, but that it is their intention to accept and assume that
           risk and fully, finally, and forever release, waive, compromise, settle, and discharge
           all of the Released Claims against Released Persons. The release thus shall remain in
           effect notwithstanding the discovery or existence of any additional or different claims
           or facts.

  5. No Admission of Wrongdoing or Liability

        a. Defendants do not admit or concede any liability or wrongdoing, acknowledge any
           validity to the claims asserted in the Action, acknowledge that certification of a
           litigation class is appropriate as to any claim, or acknowledge any weakness in the
           defenses asserted in the Action, and nothing in this Agreement, the Preliminary
           Approval Order, or the Final Approval Order shall be interpreted to suggest anything
           to contrary.

        b. Nothing in this Agreement, any negotiations, statements, communications,
           proceedings, filings, or orders relating thereto, or the fact that the Parties entered the
           Agreement and settled the Action shall be construed, deemed, or offered as an
           admission or concession by any of the Parties or Class Members or as evidentiary,
           impeachment, or other material available for use or subject to discovery in any suit,
           action, or proceeding (including this Action), except (i) as required or permitted to
           comply with or enforce the terms of this Agreement, the Preliminary Approval Order,
           or the Final Approval Order, or (ii) in connection with a defense based on res
           judicata, claim preclusion, collateral estoppel, issue preclusion, release, or other
           similar theory asserted by any of the Released Parties.

  6. Preliminary Approval

        a. No later than April 16, 2021, and following conferral with Defendants, Plaintiffs shall
           file a motion for preliminary approval of the Settlement and entry of the Preliminary
           Approval Order, which Defendants will not oppose.

        b. The motion for preliminary approval shall ask the Court to enter the following
           schedule: (i) a Notice Date of no more than twenty-eight (28) days after entry of the
           Preliminary Approval Order; (ii) an Opt Out Deadline of forty-five (45) days after the
           Notice Date; (iii) an Objection Deadline of forty-five (45) days after entry of the
           Preliminary Approval Order; (iv) a deadline for Class Counsel to file any requests for
           attorneys’ fees, costs, or expenses related to the Action or the Settlement of twenty-
           one (21) days prior to the Objection Deadline; (v) a deadline for filing a motion for
           final approval of fourteen (14) days prior to Fairness Hearing; (vi) a Fairness Hearing
           to be held as early as practicable but no earlier than one-hundred-twenty (120) days
           after entry of the Preliminary Approval Order.




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        c. Plaintiffs shall provide Defendants with a draft of the motion for preliminary approval
           at least seven (7) days before it is filed.

  7. Class Certification

        a. In the motion for preliminary approval of the Settlement, Plaintiffs shall propose
           certification of the Class, solely for purposes of the Settlement, pursuant to Federal
           Rules of Civil Procedure 23(b)(3) and 23(e), with Plaintiffs as the proposed class
           representatives, which Defendants will not oppose.

        b. If this Agreement is terminated or the Court (or an appellate court) declines to
           approve the Settlement as proposed by the Plaintiffs, Defendants shall retain all of the
           rights to oppose class certification (and assert all other arguments and defenses) that
           they had prior to execution of this Agreement.

        c. Nothing in this Agreement, the Settlement, or the orders, filings, proceedings, or
           negotiations related to this Agreement or the Settlement (i) may be used as evidence
           or argument concerning whether the Action or any other lawsuit may be certified as a
           class action for purposes of litigation; or (ii) shall prejudice Defendants’ rights to
           oppose class certification, for purposes of litigation, in the Action or any other
           lawsuit.

  8. CAFA Notice

        a. Within ten (10) days after Plaintiffs file the motion for preliminary approval of the
           Settlement, each Defendant shall provide CAFA Notice to the appropriate officials of
           the United States and the State of Michigan.

        b. When each Defendant provides CAFA Notice in accordance with Section 8(a) of this
           Agreement, it shall provide copies of the CAFA Notice to Plaintiffs.

  9. Class Notice

        a. In the motion for preliminary approval of the Settlement, Plaintiffs shall ask the Court
           to approve a proposed Class Notice for dissemination through the means described in
           the motion and accompanying exhibits.

        b. Unless the Court orders otherwise, the Class Notice shall fairly and adequately: (i)
           describe the terms of this Agreement and the Settlement; (ii) give notice of the time
           and place of the Fairness Hearing; (iii) describe how a Class Member may submit an
           Objection and the deadline for doing so; (iv) describe how a Class Member may Opt
           Out and the deadline for doing so; and (v) otherwise satisfy the notice requirements of
           Federal Rule of Civil Procedure 23(e) and the U.S. Constitution.

        c. Unless the Court orders otherwise, the Class Administrator shall commence issuing
           the Class Notice to Class Members pursuant to the Class Notice plan no later than
           twenty-eight (28) days after entry of the Preliminary Approval Order.



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        d. The costs of Class Notice, including the related fees, costs, and expenses of the Class
           Administrator, shall be paid solely from the Settlement Fund, either directly or
           through reimbursement for any payments advanced by Class Counsel for such costs.

  10. Opt Outs

        a. A Class Member may Opt Out by submitting to the Class Administrator a timely and
           valid request that complies with the Opt Out procedure described in the Class Notice.

        b. Any Class Member that submits a timely and valid Opt Out request shall not (i) be
           bound by any orders or judgments entered in the Action; (ii) be entitled to any of the
           relief or other benefits provided under this Agreement; (iii) gain any rights by virtue
           of this Agreement; or (iv) be entitled to submit an Objection.

        c. Any Class Member that does not submit a timely and valid Opt Out request submits
           to the jurisdiction of the Court and shall be bound by the terms of this Agreement and
           by all orders and judgments in the Action.

        d. To be timely and valid, an Opt Out request must have a verified submission date on
           or before the Opt Out Deadline and must include (i) the full name, current address,
           and telephone number of the requestor; (ii) a statement of the facts that make the
           requestor a Class Member; (iii) a statement requesting exclusion from the Class; and
           (iv) the signature of the requestor.

        e. No “mass” or “class” Opt Out requests shall be valid, and no Class Member may
           submit an Opt Out request on behalf of any other Class Member.

        f. Any Class Member that submits an Opt Out request may revoke the request by
           submitting to the Class Administrator a statement of revocation with a verified
           submission date no later than forty-two (42) days before the Fairness Hearing;
           provided, however, that Class Counsel shall have discretion to extend this deadline on
           a case-by-case basis.

        g. As soon as practicable and no later than thirty (35) days before the Fairness Hearing,
           the Class Administrator shall furnish the Parties with a final list of all Class Members
           that have submitted timely and valid Opt Out requests.

  11. Objections

        a. A Class Member may make an Objection by serving on the Parties a timely and valid
           statement of Objection that complies with the Objection procedure described in the
           Class Notice. Class Counsel shall file all such Objections with the Court at least 14
           days prior to the Fairness Hearing.

        b. To be timely and valid, a statement of Objection must be postmarked or received on
           or before the Objection Deadline and must include (i) the full name, current address,
           and telephone number of the objector; (ii) a statement of the facts that make the
           objector a Class Member; (iii) a statement describing all of the objector’s challenges


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            to this Agreement or the Settlement and the reasons for those challenges; (iv) all of
            the papers and evidence the objector intends to submit in support of those challenges;
            (v) a statement of whether the objector intends to appear at the Fairness Hearing; (vi)
            the signature of the objector; (vii) a statement that the objector is willing to be
            deposed, upon request, on a mutually acceptable date at least ten (10) days before the
            Fairness Hearing; (viii) the caption of each case in which the objector or counsel
            representing the objector have objected to a class action settlement within the
            preceding five years and a copy of all orders related to or ruling upon those
            objections; and (ix) all agreements that relate to the Objection, whether written or
            verbal, between or among the objector, counsel for the objector, and/or any other
            Person.

        c. No “mass” or “class” Objections shall be valid, and no Class Member may submit a
           statement of Objection on behalf of any other Class Member.

        d. Unless the Court orders otherwise, only those Class Members whose statements of
           Objection express an intention to appear at the Fairness Hearing shall have the right
           to present their Objections orally at the Fairness Hearing.

        e. A Class Member that does not submit a timely and valid Objection shall have waived,
           and shall be foreclosed from making, any challenge to this Agreement or the
           Settlement in the Action or any other proceeding.

  12. Final Approval

        a. Unless the Court orders otherwise or the Agreement has been terminated under
           Section 16 of this Agreement, no later than fourteen (14) days before the Fairness
           Hearing, and following conferral with Defendants, Plaintiffs shall file a motion for
           final approval of the Settlement and entry of the Final Approval Order, which
           Defendants will not oppose.

        b. Plaintiffs shall provide Defendants with a draft of the motion for final approval at
           least seven (7) days before it is filed.

        c. At the Fairness Hearing, the Parties will use their reasonable best efforts to support
           approval of the Settlement and entry of the requested Final Approval Order.

        d. If the Court enters the requested Final Approval Order without material change, the
           Parties will use their reasonable best efforts to defend Final Approval Order from
           challenge on appeal or otherwise.

        e. If the Court enters the requested Final Approval Order without material change, no
           Party will institute, support, or encourage any appeal from the Final Approval Order.

  13. Representations and Warranties

        a. Plaintiffs represent and warrant to Defendants as follows:



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             i. Each of the Plaintiffs is a Class Member.

             ii. Each of the Plaintiffs has received legal advice from Class Counsel regarding
                 the advisability of entering into this Agreement and the legal consequences of
                 this Agreement.

            iii. No portion of any of the Released Claims possessed by any of the Plaintiffs and
                 no portion of any relief under this Agreement to which any of the Plaintiffs may
                 be entitled has been assigned, transferred, or conveyed by or for any of the
                 Plaintiffs to any other Person, except pursuant to any contingency fee agreement
                 with Class Counsel.

            iv. None of the Plaintiffs is relying on any statement, representation, omission,
                inducement, or promise by any of the Defendants, their agents, or their
                representatives, except those expressly stated in this Agreement.

             v. Each of the Plaintiffs, through Class Counsel, has investigated the law and facts
                pertaining to the Released Claims and the Settlement.

            vi. Each of the Plaintiffs has carefully read, and knows and understands, the full
                contents of this Agreement and is voluntarily entering into this Agreement after
                having consulted with Class Counsel or other attorneys.

            vii. Each of the Plaintiffs has all necessary competence and authority to enter into
                 this Agreement on his or her own behalf and on behalf of the Class.

           viii. None of the Plaintiffs will Opt Out or file an Objection.

        b. Class Counsel represents and warrants to Defendants as follows:

             i. Class Counsel believes the Settlement is fair, reasonable, adequate, and
                beneficial to each Class Member and that participation in the Settlement would
                be in the best interests of each Class Member.

             ii. Class Counsel does not currently represent any client or clients that plan to, or
                 are considering whether to, Opt Out, file an Objection, or otherwise challenge
                 the Settlement.

            iii. Class Counsel recognizes the risk that they could have a conflict of interest if
                 they represented (directly or indirectly) any client in connection with an effort
                 to Opt Out, file an Objection, or otherwise challenge the Settlement.

            iv. Because Class Counsel believes that the Settlement is in the best interests of
                each Class Member, Class Counsel will not solicit, or assist others in soliciting,
                Class Members to Opt Out, file an Objection, or otherwise challenge the
                Settlement.




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             v. Class Counsel has all necessary authority to enter into and execute this
                Agreement on behalf of Plaintiffs and the Class.

             vi. Each of the Plaintiffs has approved and agreed to be bound by this Agreement.

            vii. The representations in Section 13(a) of this Agreement are true and correct to
                 the best of Class Counsel’s knowledge.

        c. Defendants represent and warrant to Plaintiffs as follows:

              i. Each of the Defendants has received legal advice from its attorneys regarding
                 the advisability of entering into this Agreement and the legal consequences of
                 this Agreement.

             ii. None of the Defendants is relying on any statement, representation, omission,
                 inducement, or promise by Plaintiffs, Class Members, or Class Counsel, except
                 those expressly stated in this Agreement.

             iii. Each of the Defendants, with the assistance of its attorneys, has investigated the
                  law and facts pertaining to the Released Claims and the Settlement.

             iv. Each of the Defendants has carefully read, and knows and understands, the full
                 contents of this Agreement and is voluntarily entering into this Agreement after
                 having consulted with its attorneys.

             v. Each of the Defendants has all necessary authority to enter into this Agreement,
                has authorized the execution and performance of this Agreement, and has
                authorized the Person signing this Agreement on its behalf to do so.

  14. Liens and Medicare Obligations

        a. Any liens or subrogation interests as to any damage to real property or other property
           of a Settlement Class Member shall be the responsibility of that Settlement Class
           Member.

        b. Any liens or subrogation interests as to any costs, expenses, or fees incurred by a
           Settlement Class Member in connection with any alleged exposure to PFAS shall be
           the responsibility of that Settlement Class Member.

        c. Nothing in this Agreement is intended to create or give rise to any liens or
           subrogation claims not otherwise provided by law or contract.

        d. Due to the nature of the claims at issue in the Action and the Released Claims, the
           Parties agree that the Settlement does not give rise to any reporting requirements
           under Section 111 of the Medicare, Medicaid, and SCHIP Extension Act of 2007, and
           therefore that no party will make any such report.




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        e. The Parties have sought to draft this Settlement to avoid any impacts to the rights of
           any public or private program (e.g. Medicare) or to Settlement Class Members’ rights
           thereunder. However, by choosing to not Opt Out, Settlement Class Members
           acknowledge that (i) the Settlement could impact, limit, or preclude their rights to
           receive certain future Medicare benefits arising out of the allegations in this lawsuit ;
           and (ii) they want to proceed with the Settlement and voluntarily waive any and all
           claims against Defendants for denial of Medicare benefits related to the Settlement. It
           is understood that the intent of this Agreement is that the Releasing Parties will
           protect, defend, and hold the Released Parties harmless from any future or further
           payments or exposure with regard to the matters addressed in this Settlement,
           including but not limited to claims for reimbursement of public or private medical
           insurance benefits paid on behalf of the Releasing Parties. The Releasing Parties
           voluntarily waive any and all claims of any nature against Defendants related to any
           effort by Medicare or a Medicare Advantage Organization to demand payment of
           covered medical expenses that are asserted to be related to this Settlement, including
           but not limited to a private cause of action under 42 U.S.C. § 1395y(b)(3)(A).

        f. The Parties have considered Medicare’s interest in any potential Medicare covered
           medical expenses occurring before or after the Effective Date. The Parties are
           satisfied that no allocation for expenses to protect Medicare’s interest now or in the
           future is necessary and will not allocate any amount of the proceeds of this Settlement
           for past or future medical expenses, but reserve the right to do so in the future if
           necessary and appropriate in the sole discretion of the Class Administrator.

  15. Amendment of Agreement

        a. The Parties may agree to amend this Agreement for any reason at any time.

        b. Prior to entry of the Final Approval Order, this Agreement may be amended only by a
           writing executed by all Parties.

        c. After entry of the Final Approval Order, this Agreement may be amended only by a
           writing executed by all Parties and approved by the Court.

  16. Termination of Agreement

        a. Any of the Parties may terminate this Agreement if any of the following events
           happen: (i) the Court declines to approve any part of the Settlement; (ii) the Court
           declines to approve or changes a material term of the requested Preliminary Approval
           Order or the requested Final Approval Order; (iii) an appellate court reverses, vacates,
           or otherwise overturns the Final Approval Order in whole or in part; or (d) another of
           the Parties materially breaches this agreement before the Effective Date and fails to
           promptly cure the breach after receiving written notice of the breach; provided,
           however, that none of the Parties may terminate this Agreement because the Court or
           any appellate court awards less than the requested amount of attorneys’ fees, costs,
           and expenses.




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        b. Any Defendant may terminate this Agreement if more than twenty (20) Class
           Members Opt Out (according to the Opt Out list provided by the Class Administrator
           pursuant to Section 10(g) of this Agreement).

        c. In order to exercise a right to terminate this Agreement, a Party must deliver written
           notice of termination to counsel for all other Parties within ten (10) days after the
           later of the event creating the right to terminate or the Party learning of the event
           creating the right to terminate, unless that deadline is extended by written consent of
           counsel for all Parties.

        d. If a Party exercises a right to terminate this Agreement, (i) the Parties shall have thirty
           (30) days to resume settlement negotiations and determine if the Parties can reach an
           amended agreement; (ii) all deadlines under this Agreement shall be stayed for the
           duration of the negotiations; (iii) the Parties shall jointly request a stay of all Court
           deadlines for the duration of the negotiations; and (iv) the Parties shall jointly advise
           the Court of the status of this Agreement or any amendment to Agreement within
           seven (7) days after the conclusion of the thirty-day negotiation period.

        e. Unless the Parties agree otherwise in writing, thirty-one (31) days after a Party
           exercises a right to terminate this Agreement:

              i. The Agreement (except for Sections 5(a), 5(b), 7(b), 7(c), 16(a)-16(e), 17(a),
                 17(c), 18(a)-18(p)) shall become null and void and of no further force and
                 effect.

             ii. The Action shall resume as if the Parties never entered into the Agreement.

             iii. The Parties shall jointly move to vacate any orders entered in connection with
                  the Settlement.

             iv. The Parties shall jointly move for the entry of a scheduling order establishing
                 procedures and deadlines for, among other things, discovery, class certification
                 motions and hearing, dispositive motions, and trial;

             v. The Agreement (except for Sections 5(a), 5(b), 7(b), 7(c), 16(a)-16(e), 17(a),
                17(c), 18(a)-18(p)), any negotiations, statements, communications, or
                proceedings relating thereto, and the fact that the Parties agreed to the
                Agreement shall not be offered as an admission or concession by any of the
                Parties or Class Members or as evidentiary, impeachment, or other material
                available for use or subject to discovery in any suit, action, or proceeding
                (including this Action).

        f. If a Party breaches the Agreement after the Effective Date, none of the Parties may
           terminate the Agreement and any aggrieved Parties may seek relief only from the
           breaching Party. In no event shall any non-breaching Party have any liability arising
           out of or related to a breach of the Agreement by any other Party.




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  17. Publicity and Confidentiality

         a. The Parties, Class Counsel, counsel for Defendants, and the Class Administrator shall
            keep strictly confidential and not disclose to any third party any non-public
            information received during litigation of the Action or negotiation or implementation
            of the Settlement.

         b. No later than one-hundred-eighty (180) days after the Effective Date, Class Counsel,
            on behalf of Plaintiffs and the Class, and the Class Administrator shall return or
            destroy (and certify in writing that they have destroyed upon a request to so certify)
            Defendants’ confidential documents produced in connection with the Action,
            settlement discussions, or the negotiation or performance of this Agreement.

         c. Except as authorized by this Agreement or the Court, the Parties and their counsel
            shall issue no publicity, press release, or other public statement regarding the
            Settlement unless jointly agreed to in writing by all Parties; provided, however, that
            nothing in this provision shall limit (i) Defendants’ ability to provide information
            about the Settlement to their employees, accountants, lawyers, insurers, customers,
            shareholders, or other stakeholders or in accordance with legal requirements
            (including the rules of securities exchanges); (ii) Plaintiffs’ or Class Members’ ability
            to provide information about the Settlement to their accountants, lawyers, or insurers,
            to Class Members, or in accordance with legal requirements; or (iii) Class Counsel’s
            ability to provide information about the Settlement to Class Members (including
            through Class Counsel’s website) or in accordance with legal requirements.

  18. Miscellaneous

         a. Jurisdiction and Venue. The United States District Court for the Western District of
            Michigan shall retain jurisdiction over the Parties and Class Members to interpret,
            implement, administer, and enforce the terms of this Agreement and resolve any
            dispute regarding this Agreement, the Settlement, the Preliminary Approval Order, or
            the Final Approval Order. All proceedings related to this Agreement, the Settlement,
            the Preliminary Approval Order, or the Final Approval Order shall be initiated and
            maintained in the United States District Court for the Western District of Michigan.

         b. Governing Law. The Agreement shall be governed by and construed in accordance
            with the law of the State of Michigan without regard for conflict-of-laws principles.

         c. Entire Agreement. This Agreement constitutes the entire agreement of the Parties
            with respect to the subject matter thereof, and it supersedes all prior and
            contemporaneous oral and written agreements and discussions among them on that
            subject matter (including any aspect of the draft Term Sheet partially negotiated
            among the Parties). The Settlement is not subject to any condition, representation,
            warranty, or inducement not expressly provided for herein, and there exist no
            collateral or oral agreements, promises, conditions, representations, warranties, or
            inducements among any of the Parties, Class Counsel, Defendants, or counsel for




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           Defendants relating to the subject matter of the Agreement that supersede or
           supplement the Agreement.

        d. Construction. This Agreement was drafted jointly by the Parties and, in construing
           and interpreting this Agreement, no provision of this Agreement shall be construed or
           interpreted against any of the Parties based upon the contention that this Agreement
           or a portion of it was purportedly drafted or prepared by one of the Parties.

        e. Captions. Any captions, titles, headings, or subheadings in this Agreement have been
           inserted for convenience of reference only and shall have no effect upon the
           construction or interpretation of any part of this Agreement.

        f. Deadlines. If the last date for the performance of any action required or permitted by
           this Agreement falls on a Saturday, Sunday, or Court holiday, that action may be
           performed on the next business day as if it had been performed within the time period
           provided for performance of the action.

        g. Reasonable Extensions. Unless the Court orders otherwise, the Parties may agree in
           writing to any reasonable extensions of time to carry out any of the provisions of this
           Agreement.

        h. Notices. Any notice, demand, or other communication under this Agreement (other
           than the Class Notice) shall be in writing and shall be deemed duly given if it is
           addressed to the intended recipient as set forth below and personally delivered, sent
           by registered or certified mail (postage prepaid), sent by confirmed email, or
           delivered by reputable express overnight courier:

           To Plaintiffs or Class Members:

           Nicholas A. Coulson
           Liddle & Dubin, P.C.
           975 E. Jefferson Avenue
           Detroit, MI 48007
           Ncoulson@LDClassaction.com

           To 3M:

           Laura Hammargren
           3M Legal Affairs
           3M Center, 220-9E-02
           St. Paul, MN 55144-1000
           lhammargren@mmm.com

           Dan Ring
           Mayer Brown LLP
           71 South Wacker Dr.
           Chicago, IL 60606
           dring@mayerbrown.com


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           To Georgia-Pacific:

           Tye Darland
           Senior Vice President, General Counsel
           Georgia-Pacific LLC
           133 Peachtree Street, 24th Floor
           Atlanta, GA 30348
           tdarland@gapac.com

           Janet Ramsey
           Warner Norcross + Judd
           150 Ottawa Ave. NW, Suite 1500
           Grand Rapids, MI 49503

           Doug Garrou
           Hunton Andrews Kurth LLP
           951 E. Byrd St., Suite 200
           Richmond, VA 23219

           Any notice required to be sent to the Class Administrator shall be delivered to its
           official business address.

        i. Waiver. The provisions of this Agreement may be waived only by written agreement
           signed by the waiving party. The waiver by any Party of any breach of this
           Agreement shall not be deemed to be or construed as a waiver of any other breach of
           this Agreement.

        j. Duty to Cooperate. The Parties shall cooperate in good faith to take all actions
           reasonably necessary to effectuate this Agreement.

        k. Severability. The provisions of this Agreement are not severable, except as provided
           in the Agreement.

        l. Third-Party Beneficiaries. This Agreement does not create any third-party
           beneficiaries, except Settlement Class Members and the Released Persons other than
           Defendants, who are intended third-party beneficiaries.

        m. No Liability. No Person shall have any claim against any Plaintiffs, Class Members,
           Class Counsel, Released Persons, counsel for Defendants, or the Class Administrator
           based on actions that any Plaintiffs, Class Members, Class Counsel, Released
           Persons, counsel for Defendants, or the Class Administrator were required or
           permitted to take under this Agreement, the Preliminary Approval Order, or the Final
           Approval Order. No Person shall have any claim against any Released Persons or
           counsel for Defendants related to administration of the Settlement. No Person shall
           have any claim against Plaintiffs, Class Counsel, or the Class Administrator related to
           the administration of the Settlement (including making payments to Class Members),
           except for in the presence of proven willful misconduct.



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        n. Force Majeure. The failure of any Party to perform any of its obligations hereunder
           shall not subject any Party to any liability or remedy for damages, or otherwise,
           where such failure is occasioned in whole or in part by Acts of God, fires, accidents,
           pandemics, other natural disasters, interruptions or delays in communications or
           transportation, labor disputes or shortages, shortages of material or supplies,
           governmental laws, rules or regulations of other governmental bodies or tribunals,
           acts or failures to act of any third parties, or any other similar or different
           circumstances or causes beyond the reasonable control of such Party.

        o. Binding Nature. This Agreement shall be binding upon and inure to the benefit of the
           Parties, the Class Members, and their respective agents, employees, representatives,
           heirs, executors, administrators, successors, and assigns.

        p. Execution. This Agreement may be executed in counterparts and shall be binding
           once all Parties have executed the Agreement.

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  APPROVED AND AGREED TO:

   Plaintiff David Dykehouse              Defendant Georgia-Pacific LLC

   ____________________________           ____________________________
                                          By:
   Date: _______________________          Position:

                                          Date: _______________________
   Plaintiff Kristina Boskovich
                                          Defendant Georgia-Pacific Consumer
   ____________________________           Products LP

   Date: _______________________          ____________________________
                                          By:
                                          Position:
   Plaintiff Elizabeth Hamblin
                                          Date: _______________________
   ____________________________

   Date: _______________________          Defendant The 3M Company

                                          ____________________________
   Class Counsel                          By:
                                          Position:
   ____________________________
   By:                                    Date: _______________________
   Position:

   Date: _______________________




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  APPROVED AND AGREED TO:

   Plaintiff David Dykehouse              Defendant Georgia-Pacific LLC

   ____________________________           ____________________________
                                          By:
   Date: _______________________          Position:

                                          Date: _______________________
   Plaintiff Kristina Boskovich
                                          Defendant Georgia-Pacific Consumer
   ____________________________           Products LP

   Date: _______________________          ____________________________
                                          By:
                                          Position:
   Plaintiff Elizabeth Hamblin
                                          Date: _______________________
   ____________________________

   Date: _______________________          Defendant The 3M Company

                                          ____________________________
   Class Counsel                          By:
                                          Position:
   ____________________________
   By:     Nicholas A. Coulson            Date: _______________________
   Position: Class Counsel

         4/23/21
   Date: _______________________




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